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                                                                            E-FILED
                                             Thursday, 18 February, 2016 01:20:01 PM
                                                        Clerk, U.S. District Court, ILCD

          IN THE UNITED STATES DISTRICT COURT
          FOR THE CENTRAL DISTRICT OF ILLINOIS
                  SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                                             )
                                             )
               Plaintiff,                    )
                                             )
v.                                           )        No. 3:12-cr-30019
                                             )
                                             )
HOWARD PURHAM,                               )
                                             )
                                             )
                                             )
               Defendant.                    )
                                             )

                             OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     Defendant Howard Purham has filed a letter that has been

docketed as a Motion to Reduce Sentence (d/e 126), as well as a

Motion for Reduction of Sentence that has been docketed as a

Notice of Compliance (d/e 138). Purham seeks a sentence

reduction under Amendment 782 to the U.S. Sentencing

Guidelines. For the reasons below, the motions (d/e 126, 138) are

DENIED.




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I.   Background

     On August 22, 2013, Defendant Howard Purham was

sentenced for his crime of conspiring to distribute crack cocaine

and heroin. Purham’s sentencing guideline range under the U.S.

Sentencing Guidelines was life imprisonment, but the Court

sentenced Purham to 240 months in prison. The Court imposed a

sentence below Purham’s guideline range to avoid unwarranted

sentencing disparities among defendants under U.S.C. § 3553(a)(6).

The Court cited the 18:1 sentencing disparity between crack

cocaine and powder cocaine offenses that existed at the time and

“reject[ed] the 18:1 crack to powder disparity in the sentencing

guidelines” as “lead[ing] to unreasonable results.” (Statement of

Reasons, d/e 69 at 3.) See Kimbrough v. United States, 552 U.S.

85, 111 (2007) (no abuse of discretion where district court

determined that Section 3553(a) factors supported below-guidelines

sentence due to crack-powder disparity).

     On August 10, 2015, Purham sent a letter to the Federal

Public Defender’s office asking about his eligibility for a sentence

reduction under Amendment 782 to the U.S. Sentencing

Guidelines. Amendment 782 retroactively reduced most drug


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quantity base offense levels by two levels, altering the sentencing

guidelines range calculation for many criminal defendants and

opening the door for their sentences to be reduced. The Clerk of the

Court received a copy of Purham’s letter and docketed the letter as

a Motion to Reduce Sentence (d/e 126).

     The Court appointed the Federal Public Defender’s office to

represent Purham with respect to his implicit request for a sentence

reduction. (See August 17, 2015 text order.) On December 7,

2015, the Federal Public Defender filed a Motion to Withdraw (d/e

137) on the ground that Purham is not eligible for a sentence

reduction because, both with and without Amendment 782,

Purham’s sentencing guideline range is life imprisonment.

     The Court granted the Federal Public Defender’s Motion to

Withdraw. The Court directed Purham to file, if he so chose, a

pleading either (a) conceding that he is ineligible for a sentence

reduction under Amendment 782; or (b) explaining why he is

eligible for a sentence reduction under Amendment 782 despite the

fact that, with or without Amendment 782, his sentencing guideline

range is life imprisonment. (See December 8, 2015 text order.)




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      On January 11, 2016, Purham filed a Motion for Reduction of

Sentence (d/e 138), which was docketed as a Notice of Compliance

with the Court’s text order. In that motion, Purham argues that the

Court should grant his request for a sentence reduction.

II.   Discussion

      A.   The Court cannot reduce Purham’s sentence because
           Purham’s sentence was not based on a sentencing
           range that has been lowered by the U.S. Sentencing
           Commission.

      Congress has authorized the Court to modify a defendant’s

prison sentence if: (1) the original sentence was “based on a

sentencing range that has been subsequently lowered by the

Sentencing Commission”; and (2) a reduction would be “consistent

with applicable policy statements issued by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(2). As the plain language of

Section 3582(c)(2) indicates, the provision “applies only to a limited

class of prisoners—namely, those whose sentence was based on a

sentencing range subsequently lowered by the Commission.” Dillon

v. United States, 560 U.S. 817, 825-26 (2010). The court cannot

reduce a sentence if an amendment to the sentencing guidelines

“does not have the effect of lowering the defendant’s applicable



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guidelines range.” United States v. Freeman, 586 Fed.Appx. 237,

239 (7th Cir. 2014) (unpublished) (citing U.S.S.G. § 1B1.10 cmt. nt.

1(A)).

         Here, Purham’s base offense level was 34 due to the 840

grams of crack cocaine for which he was held accountable at

sentencing. Purham then received a 2-level enhancement for

making threats of violence, a 2-level enhancement for utilizing

several houses for the sole purpose of distributing crack, a 3-level

enhancement for having a leadership role in the conspiracy, a 2-

level enhancement for recruiting a minor, and a 2-level

enhancement for obstruction of justice. Altogether, Purham’s total

offense level was 45. But because 43 is the highest offense level on

the Sentencing Table, Purham’s total offense level became 43.

         With a total offense level of 43 and a criminal history category

of I, Purham’s guideline range was life imprisonment. Nevertheless,

the Court sentenced Purham to 240 months in prison to avoid

unwarranted sentencing disparities due to the 18:1 crack-to-powder

ratio mentioned above.

         Under Amendment 782, Purham’s base offense level today

would be 32 instead of 34. Factor in Purham’s various


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enhancements, and his total offense level would become 43 instead

of 45. Of course, a total offense level of 43 is the same total offense

level that ultimately applied to Purham, as his total offense level of

45 was reduced to 43 to align with the maximum total offense level

contemplated by the Sentencing Table. But in any event, Purham’s

“revised” total offense level of 43 and criminal history category of I

would today still result in a guideline range of life imprisonment.

Thus, Purham’s sentencing range has not been lowered by

Amendment 782, and Purham is ineligible for a sentence reduction.

     B.    Purham’s applicable guideline range did not change
           when the Court imposed a sentence below Purham’s
           guideline range.

     Purham agrees that his base offense level at sentencing was

34, and that after the enhancements his guideline range was life

imprisonment. But, Purham says, “that was under the 18 to 1

ratio”—the ratio the Court explicitly rejected in imposing a 240-

month sentence (d/e 138 at 2). The Court’s decision to sentence

Purham “to the 1 to 1 ratio,” Purham says, gave Purham “a new

base offense level and a new … guideline range”—specifically a base

offense level of 37 and a guideline range of 210-to-262 months (d/e

138 at 2). Thus, Purham says, his initial guideline range of life


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imprisonment is irrelevant, because the Court disregarded it. And

under Amendment 782, Purham argues, his base offense level

drops from 37 to 35, yielding a sentencing range of 168-to-210

months—well below the 240-month sentence that the Court

imposed.

     Essentially, Purham argues that he would be ineligible for a

sentence reduction if he had received a sentence of life

imprisonment, but that, because he received a below-guidelines

sentence of 240 months, which he says lowered his guideline range,

he is now eligible for a reduction under Amendment 782.

     However, eligibility for a Section 3582(c)(2) sentence reduction

is triggered only by an amendment lowering the defendant’s

“applicable guideline range,” which the commentary to the policy

statement governing Section 3582(c)(2) proceedings defines as the

guideline range that corresponds to the defendant’s offense level

and criminal history category as determined “before consideration

of any departure … or any variance.” U.S.S.G. § 1B1.10, cmt. nt.

1(A) (emphasis added). Here, Purham’s total offense level of 43 and

criminal history category of I yielded an applicable guideline range

of life imprisonment. The fact that the Court imposed a sentence


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below Purham’s guideline range to avoid unwarranted sentencing

disparities under 18 U.S.C. § 3553(a)(6) does not affect Purham’s

applicable guideline range. See United States v. Guyton, 636 F.3d

316, 319 (7th Cir. 2011) (Section 1B1.10 “assumes that ‘the

applicable guideline range’ is the range established before a district

court decides to depart or vary downward …. The provision in

subsection (b)(2)(B) makes little sense if the departure itself is

treated as providing the applicable ‘range.’”); United States v.

Brown, No. 10 CR 888, 2015 U.S. Dist. LEXIS 88854, *2 (N.D. Ill.

July 8, 2015) (defendant’s below-guidelines sentence pursuant to

18 U.S.C. § 3553(a) “does not alter the fact that Defendant was

subject to a guideline range that has not been changed”); United

States v. Edmond, No. 15 C 3566, 2015 U.S. Dist. LEXIS 151428,

*14 (N.D. Ill. Nov. 9, 2015) (defendant who received below-guideline

sentence under 18 U.S.C. § 3553(a) was not entitled to sentence

reduction under Amendment 782 because Amendment 782 did not

reduce his guideline range).




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     C.    Purham’s good behavior in prison does not authorize
           the Court to reduce his sentence.

     Purham represents that since he has been in prison he has

not received a single incident report, he has not gotten into any

fights with any inmates, and he has not had any confrontations

with any correctional officers. He adds that he obtained a G.E.D.

within 5 months of entering his G.E.D. class, completed a Bureau

of Prisons program on rehabilitation and values enhancement,

completed a drug education class, received an “ACE” certificate and

a parenting certificate, and is currently waiting to enroll in college

courses.

     The Court is pleased to learn that Purham has made

productive use of his term of imprisonment. And the Court

sympathizes with the plight of the drug offender who watches other

drug offenders receive sentence reductions, while he himself is

deemed ineligible. But the fact remains that, while Congress has

taken action to allow sentence reductions for defendants sentenced

based on guideline ranges subsequently lowered by the Sentencing

Commission, a defendant whose sentence was not based on a range

lowered by the Sentencing Commission remains ineligible for a



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reduction. The Court has no inherent authority to grant requests

for sentence reductions; statutory authorization from Congress is

required. Although motions to reconsider criminal sentences were

once generally “accepted as a common-law practice,” Congress “long

ago abrogated this common-law practice in the sentencing context.”

United States v. Townsend, 762 F.3d 641, 645 (7th Cir. 2014).

     Because Purham was not sentenced based on a sentencing

range subsequently lowered by the Sentencing Commission, the

Court lacks authority to grant his request for a sentence reduction.

Under 18 U.S.C. § 3582(c), the Court may not modify an imposed

term of imprisonment except in three narrow circumstances.

Subsection 3582(c)(1)(A) authorizes the Court to reduce a sentence

when the Director of the Bureau of Prisons files a motion seeking

that relief, if the Court finds that the defendant meets certain

criteria. Subsection 3582(c)(1)(B) authorizes the Court to modify a

sentence if “expressly permitted by statute” or by Federal Rule of

Criminal Procedure 35. And Subsection 3582(c)(2) authorizes the

Court to reduce a sentence if the defendant’s term of imprisonment

was based on a sentencing range that has subsequently been

lowered by the United States Sentencing Commission. None of the


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circumstances contemplated by Section 3582(c) exists in Purham’s

case.

III.    Conclusion

        Congress has authorized the Court to reduce a defendant’s

sentence if the sentence was “based on a sentencing range that has

subsequently been lowered by the Sentencing Commission.” 18

U.S.C. § 3582(c)(2). Purham’s sentencing range of life

imprisonment has not been lowered by the Sentencing Commission.

Because of this, Purham is not eligible for a sentence reduction so

his request for a sentence reduction (d/e 126, 138) is DENIED. The

Clerk of the Court is DIRECTED to prepare an AO 247 order

reflecting that Defendant Howard Purham’s request for a reduction

was denied.

ENTERED: February 18, 2016

FOR THE COURT:                   s/ Sue E. Myerscough
                                 SUE E. MYERSCOUGH
                            UNITED STATES DISTRICT JUDGE




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